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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                                     Case No. 13-80385-Civ-Brannon

   SUN LIFE ASSURANCE COMPANY
   OF CANADA (U.S.),

                   Plaintiff(s),

   vs.

   IMPERIAL HOLDINGS, INC., et al.,

               Defendant(s).
   _________________________________/

                        ORDER GRANTING MOTION TO DISMISS (DE 46)

           THIS CAUSE is before the Court on Defendants’ 1 Motion to Dismiss for failure to state

   a claim under Rule 12(b)(6) (DE 46). For the following reasons, Defendants’ Motion to Dismiss

   (DE 46) is GRANTED, and Plaintiff Sun Life’s Amended Complaint (DE 39) is DISMISSED

   WITHOUT PREJUDICE.

           I.      FACTUAL BACKGROUND

           Sun Life alleges that Defendants collaborated in a stranger-originated life insurance

   (STOLI) scheme in which elderly applicants were induced to take out life insurance policies by

   Defendant Imperial Holdings, who established trusts to act as owners of the life insurance

   policies so that Imperial Holdings, who had no relationship to the insureds, could obtain rights

   and interests in the death benefits of the policies, all in violation of the law.




   1
     Defendants in this action include Imperial Holdings, Inc.; Imperial Premium Finance, LLC; Imperial Life
   Financing II, LLC; Imperial Life Settlements, LLC; Imperial PFC Financing, LLC; Imperial PFC Financing, II,
   LLC; OLIPP I, LLC; and PSC Financial, LLC.

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              According to the Amended Complaint, Imperial Holdings and various insurance

   producers, senior insureds, trustees, the Bank of Utah, and an entity known as the Family

   Insurance Trust perpetrated a fraud upon Sun Life through machinations designed to improperly

   obtain ownership in life insurance policies. Allegedly, Imperial Holdings used producers 2

   appointed to sell life insurance products for Sun Life to solicit senior citizens to purchase

   insurance policies. They reached these seniors through advertisements in periodicals, seminars,

   flyers, and personal solicitation at senior care centers, hospitals, and clubs. The producers

   advised the seniors that life insurance could be taken out without risk or cost to the senior

   insureds, promising that if the seniors qualified, they would be compensated for participating.

   Producers would meet with seniors, obtain a HIPAA authorization form, gather their medical

   records, and obtain life expectancy reports. They would submit the medical records to a series of

   life insurers as part of a trial application; once insurability was determined, the producers

   prepared an illustration indicating the cost of policy premiums. Imperial Holdings would review

   the information and advise the producers whether it would fund the purchase of the policy.

              The producers would help prepare an irrevocable life insurance trust, which would serve

   as the policy’s owner. The trustees 3 were usually not selected by the senior insureds and took

   direction from Imperial Holdings and certain unidentified “agents” about how policies were to be

   applied for and maintained. Imperial Holdings provided the trustees with documents—trust

   agreements and form letters requesting policy information from Sun Life—to be executed prior

   to the issuance of the policy and while the policy was in force. The producers, senior insureds,

   and trustees—who, according to Sun Life, were all agents of Imperial Holdings—would

   complete the policy applications, which included questions about whether the policy was being
   2
       See Am. Compl. (DE 39 at 8) for eighteen names of producers.
   3
       See Am. Compl. (DE 39 at 9-10) for twenty-six names of trustees.
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   purchased for the purpose of assignment or sale to a third party; whether the senior insured had

   the means to pay the premiums; and whether the premiums would be financed, paid by the policy

   holder, or paid by a third party. However, the producers, senior insureds, and trustees lied 4 about

   the purpose of the policy, the financial means of the senior insured, and the source of the

   premium. Once Imperial Holdings approved the application, Imperial Holdings or certain

   unidentified “agents” would advance funds to the trustees to make the first premium payment;

   subsequent premium payments were advanced under the guise of a loan, and these loan proceeds

   would be deposited in an account at the Bank of Utah in the name of the “Family Insurance

   Trust,” which would make subsequent premium payments.

              Additionally, the producers were required to submit to Imperial Holdings the

   commissions paid by Sun Life, which the producers improperly concealed from Sun Life.

   Imperial Holdings used these commissions to fund the loan transactions that would, according to

   the terms of the loan, fund the premiums for two years, at which time the loan would come due,

   along with 11-16% interest and a 10% loan origination fee. The senior insureds could avoid all

   repayment obligations by signing over the policy to Imperial Holdings. When the senior insureds

   did not repay the loan—and most of them did not—Imperial Holdings foreclosed on the loans

   and acquired the policies. At issue in this lawsuit are 28 policies with an aggregate face value of

   over $126 million that Sun Life alleges were procured in this manner.

              The Amended Complaint alleges the following counts against Defendant Imperial

   Holdings, Inc., alone: RICO (Count I); RICO Conspiracy (Count II); Fraud (Count III);

   Conspiracy to Commit Fraud (Count IV); and Tortious Interference (Count V). The remaining




   4
       See Am. Compl. (DE 39 at 24-38) for allegedly false statements.
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   two counts, Equitable Accounting (Count VI) and Declaratory Judgment (Count VII), are alleged

   only against the remaining Defendants.

          II.     DISCUSSION

                  A. Legal Standard

          Defendants move to dismiss all seven counts of the Amended Complaint under Fed. R.

   Civ. P. 12(b)(6) for failure to state a claim. In reviewing a motion to dismiss, all well-pleaded

   facts in the plaintiff’s complaint and all reasonable inferences drawn from those facts must be

   taken as true. Jackson v. Okaloosa Cnty., Fla., 21 F.3d 1531, 1534 (11th Cir. 1994). A complaint

   must contain enough “facts to state a claim to relief that is plausible on its face,” Ashcroft v.

   Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570

   (2007)), and the factual allegations “must be enough to raise a right to relief above the

   speculative level.” Twombly, 550 U.S. at 555 (internal citations omitted).

          Claims alleging fraud must also comport with Rule 9(b), which requires that “‘the

   circumstances constituting fraud or mistake . . . be stated with particularity.’” Am. United Life

   Ins. Co. v. Martinez, 480 F.3d 1043, 1067 (11th Cir. 2007) (quoting Fed. R. Civ. P.9(b)). Rule

   9(b) is meant to alert defendants in fraud actions “to the precise misconduct with which they are

   charged” and guard against “spurious charges of immoral and fraudulent behavior.” Brooks v.

   Blue Cross & Blue Shield of Fla., Inc., 116 F.3d 1364, 1370–71 (11th Cir. 1997) (internal

   quotations omitted).

          Rule 9(b) is satisfied if the complaint sets forth: (1) the exact statements (or omissions)

   made and, if applicable, in what documents; (2) the time and place of each such statement and

   who made the statement (or, in the case of omissions, the person who did not make the

   statement); (3) the substance of the statement and how it misled the plaintiff; and (4) the

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   defendant’s gain due to the alleged fraud. Id. Ultimately, the allegations should “adequately

   describe the nature and subject of alleged misrepresentation” with “precision and some measure

   of substantiation.” Seville Indus. Mach. Corp. v. Southmost Mach. Corp., 742 F.2d 786, 790-91

   (3d Cir. 1984).

                     B. Party Contentions

            1.       Fraud (Count III) 5

            Sun Life fails to state a claim for fraud. To state a claim for fraud under Florida law, a

   plaintiff must allege that (1) the defendant made a false statement of material fact; (2) the

   defendant knew the representation was false; (3) the defendant intended that the plaintiff rely on

   the false statement; and (4) the plaintiff suffered damages in justifiable reliance on the false

   statement. Yanks v. Barnett, 563 So. 2d 776, 778 (Fla. 3d DCA 1990).

            Sun Life concedes that it does not allege that Imperial Holdings itself uttered any false

   statements. Rather, Sun Life’s fraud claim is premised on the theory that certain third parties—

   producers, senior insureds, and trustees—acted at Imperial Holdings’ behest and lied on life

   insurance applications about the purpose of the policy, the financial means of the insured, and

   the source of the premium on the applications. (DE 39 at 2, 10-11, 21). Sun Life contends that its

   allegations that Imperial Holdings “directed and controlled” a conspiracy, as well as its assertion

   that it “caused” the misrepresentations set forth in the Amended Complaint are sufficient to state

   a claim for fraud. However, Imperial Holdings contends—and the Court agrees—that Sun Life

   fails to allege facts that support its theory that the producers, senior insureds, and trustees were

   5
    Imperial Holdings contends that Sun Life included three policies in its Amended Complaint that would not be part
   of any purported scheme, since applications for these policies were submitted to Sun Life before the creation of
   Imperial, and two policies that were never subject to premium financing or foreclosed upon by Imperial Holdings
   and are, likewise, improperly included. However, at this stage, the veracity of Sun Life’s allegations is not before the
   Court; all allegations in Sun Life’s Amended Complaint will be taken as true.

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   actual or apparent agents of Imperial Holdings and, thus, that their misrepresentations were fully

   imputable to Imperial Holdings.

          Under Florida law, an agency relationship may be either actual or apparent. PYCSA

   Panama, S.A. v. Tensar Earth Tech., Inc., 625 F. Supp. 2d 1198, 1252 (S.D. Fla. 2008). An

   actual agency relationship exists where there is: (1) acknowledgement by the principal that the

   agent will act for him; (2) the agent’s acceptance of the undertaking; and (3) control by the

   principal over the agent’s actions and day-to-day activities. Id. (citing Ocana v. Ford Motor Co.,

   992 So. 2d 319, 326 (Fla. 3d DCA 2008)). An apparent agency relationship exists where there

   is: (1) a representation by the purported principal; (2) reliance on that representation by a third

   party; and (3) a change in position by the third party in reliance upon such representation. Id.

   “Apparent authority does not arise from the subjective understanding of the person dealing with

   the purported agent, nor from appearances created by the purported agent himself; instead,

   apparent authority exists only where the principal creates the appearance of an agency

   relationship.” Ocana, 992 So. 2d at 326 (internal quotation marks omitted).

          The parties hotly contest whether Rule 9(b) applies to the agency allegations which

   underpin Sun Life’s claims of fraud. Sun Life, citing two unpublished cases from the Southern

   District of Florida, contends that, since those courts found that agency allegations need not meet

   Rule 9(b)’s particularity requirement, this Court must do so as well. Imperial Holdings disagrees,

   citing a plethora from out-of-circuit cases, including the Seventh and Federal Circuits.

          The Court has examined the two cases cited by Sun Life: CFTC v. Gibraltar Monetary

   Corp., Inc., No. 04–80132–CIV–DIMITROULEAS (S.D. Fla. Oct. 21, 2004) (rejecting

   argument that Rule 9(b) requires a plaintiff to plead the existence of an agency relationship with

   particularity when agency is a circumstance of alleged fraud and plaintiff used entirely separate

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   facts to plead agency and the fraud); and Continent Aircraft Trust, 1087 v. Diamond Aircraft

   Industries, Inc., Civ. No. 11-61663, 2013 WL 2285539, at *4 (S.D. Fla. May 23, 2013) (finding

   persuasive CFTC’s holding regarding application of Rule 9(b) even when predicate facts of

   agency and fraud were not separate).

          The Court considers CFTC’s rationale underpinning its ruling persuasive: Rule 9(b)

   should not apply to agency allegations when separate facts are used to plead agency and fraud.

   In this case, however, the predicate facts for the agency and fraud are the same, and, applying

   CFTC’s rationale, Rule 9(b) should apply. This determination reconciles CFTC’s holding and the

   rationale for Rule 9(b)’s more stringent standard as expressed by the Seventh Circuit in

   Lachmund v. ADM Investor Servs., 191 F.3d 777, 783 (7th Cir. 1999): “[W]hen the plaintiff

   relies upon the same circumstances to establish both the alleged fraud and the agency

   relationship . . . the reasons for more particularized pleading that animate Rule 9(b) apply with

   equal force to the issue of agency and to the underlying fraud claim.” See also W. Sugar Co-op.

   v. Archer-Daniels-Midland Co., CV 11-3473 CBM MANX, 2012 WL 3101659 (C.D. Cal. July

   31, 2012).

          Sun Life also argues that the Court may apply “Rule 9(b)’s heightened pleading standard

   . . . less stringently . . . when specific factual information about the fraud is peculiarly within the

   defendant’s knowledge or control.” See U.S. ex rel Heater v. Holy Cross Hosp., Inc., 510 F.

   Supp. 2d 1027, 1033 (S.D. Fla. 2007). Sun Life seemingly contends that since evidence has

   come to light since it filed its Amended Complaint showing that Imperial Holdings—despite its

   protestations to the contrary—was involved in the applications of policies before they were

   issued, the Court should relax the pleading standards Sun Life must meet. This does not



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   demonstrate that “specific factual information about the fraud is peculiarly within the

   defendant’s knowledge or control.” Id.

          In any event, this newly discovered evidence is not something the Court can consider in

   ruling on this motion to dismiss, since “the scope of the Court's review is ‘limited to the four

   corners of the complaint.’” Ventrassist Pty Ltd. v. Heartware, Inc., 377 F. Supp. 2d 1278, 1285

   (S.D. Fla. 2005) (citing St. George v. Pinellas Cnty, 285 F.3d 1334, 1337 (11th Cir. 2002)).

   Thus, at this time, the agency relationship alleged as part of Sun Life’s fraud claim must comport

   with Rule 9(b).

          Applying that standard, the Court determines that there are no facts in the Amended

   Complaint that establish an actual agency relationship existed between Imperial Holdings and the

   producers, senior insureds, or trustees. Sun Life’s contentions that Imperial Holdings “managed

   and controlled” the producers, senior insureds and trustees, or that Imperial Holdings “caused”

   applications for life insurance to be submitted are insufficient to establish an agency relationship.

   (DE 39 at 2, 10, 20-21). Nor can it establish an agency relationship merely by listing the names

   of the producers, senior insureds, and trustees and alleging that these third parties made certain

   false statements. (DE 39 at 21-38). Sun Life’s allegations that these third parties were “agents”

   of Imperial Holdings or acted “at the direction of and for the benefit of Imperial” are likewise

   insufficient to establish an agency relationship (DE 39 at 10, 17, 42); there are no facts

   establishing that Imperial Holdings acknowledged that the producers, senior insureds, or trustees

   would act for it, and, accordingly, no facts establishing that they accepted the undertaking.

   PYCSA Panama, S.A., 625 F. Supp. 2d at 1252 (citations omitted). Nor are there facts alleged

   suggesting that Imperial Holdings had day-to-day control over these purported agents. Id. In

   this regard, Sun Life’s allegations that Imperial Holdings “utilized” the producers (DE 39 at 8),

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   “selected them” and “provid[ed] instructions regarding the application” for the policies, (DE 39

   at 9-10) are not tantamount to an assertion of day-to-day control. Nor does Sun Life allege how

   Imperial Holdings controlled the day-to-day actions of myriad senior insureds; allegations that

   Imperial Holdings “controlled” or “directed” the senior insureds are too broad—and, frankly, too

   unlikely—to suffice. Nor does Sun Life allege facts that sufficiently establish that Imperial

   Holdings had control over the day-to-day activities of the trustees. While all these parties are

   alleged to have done things that would ultimately benefit Imperial Holdings, that does not

   establish that an actual agency relationship existed.

          Nor can Sun Life establish an apparent agency relationship, since there are no facts

   alleged that Imperial Holdings, the purported principal, made a representation that the producers,

   trustees, or senior insureds were its agents. See PYCSA Panama, S.A., 625 F. Supp. 2d at 1252

   (requiring, for actual agency, acknowledgment by principal that agent will act on its behalf and,

   for apparent agency, representation by the principal); see also Ocana, 992 So. 2d at 326-27. Nor

   does it matter if any of the purported agents did anything to create the appearance of an agency

   relationship, since “[a]pparent authority does not arise from the subjective understanding of the

   person dealing with the purported agent, nor from appearances created by the purported agent

   himself; instead, apparent authority exists only where the principal creates the appearance of an

   agency relationship.” Ocana, 992 So. 2d at 326 (internal quotation marks omitted). At this stage,

   Sun Life has failed to state a claim for fraud with the requisite particularity under Rule 9(b).

          Accordingly, Count III is DISMISSED WITHOUT PREJUDICE.

          2.      Conspiracy to Commit Fraud (Count IV)

          Because the Court finds that Sun Life has failed to state a claim of fraud, its claim for

   civil conspiracy also fails. To state a claim for civil conspiracy under Florida law, a plaintiff

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   must allege: “(1) an agreement among two or more parties; (2) the doing of an unlawful act or a

   lawful act by unlawful means; (3) the doing of some overt act in pursuance of the conspiracy;

   and (4) damage to the plaintiff as a result of the acts done under the conspiracy.” Haskin v. R.J.

   Reynolds Tobacco Co., 995 F. Supp. 1437, 1440 (M.D. Fla. 1998) (citing Fla. Fern Growers

   Ass’n v. Concerned Citizens of Putnam Cnty., 616 So. 2d 562, 565 (Fla. 5th DCA 1993)).

          However, a plaintiff’s conspiracy claim fails if the underlying fraud claim fails. “Because

   a civil conspiracy claim is not an independent cause of action in Florida, if a court dismisses the

   predicate claim, . . . the court must also dismiss the conspiracy claim.” In re Palm Beach Fin.

   Partners, L.P., 488 B.R. 758, 777 (Bankr. S.D. Fla. 2013) (internal quotations omitted) (citing

   Behrman v. Allstate Life Ins. Co., 178 F. App’x 862, 863 (11th Cir. 2006)); Haskin, 995 F. Supp.

   at 1440 (dismissing civil conspiracy claim where the unlawful act supporting the conspiracy

   claim is a deficiently-pleaded fraud claim). Sun Life fails to assert the underlying fraud claim

   with the requisite particularity under Rule 9(b), and, thus, fails to assert a claim for civil

   conspiracy.

          Accordingly, Count VI is DISMISSED WITHOUT PREJUDICE.

                  3.     Tortious Interference with Contractual Relations (Count V)

          Sun Life also fails to state a claim for tortious interference with a contractual or business

   relationship. To successfully state such a claim, a plaintiff must allege: (1) the existence of a

   contract or business relationship; (2) the defendant’s knowledge of the relationship; (3)

   intentional and unjustified interference with the contract or business relationship; (4) damage to

   the plaintiff as a result of the interference. Pilkington v. United Airlines, 112 F.3d 1532, 1540

   (11th Cir. 1997). Rule 9(b) applies to a tortious interference claim when there are fraud

   allegations underlying the claim. Medimport S.R.L. v. Cabreja, Case No. 12-22255-CIV, 2013

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   WL 1003625, at *13 n.10 (S.D. Fla. Mar. 12, 2013); Borsellino v. Goldman Sachs Grp., Inc., 477

   F.3d 502, 507 (7th Cir. 2007); Wolff v. Rare Medium, Inc., 210 F. Supp. 2d 490, 500 (S.D.N.Y.

   2002). When, a plaintiff claims a defendant tortiously interfered with the plaintiff’s business

   relationship through the defendant’s fraudulent conduct, that conduct must be pleaded with the

   specificity required by Rule 9(b). See Medimport, 2013 WL 1003625, at *14; Borsellino, 477

   F.3d at 507.

          Rule 9(b) applies to this claim because it is premised on the theory that Imperial Holdings

   interfered with the contractual relationship between Sun Life and its producers by Imperial

   Holdings fraudulent conduct, including assisting the producers in submitting applications for life

   insurance containing fraudulent statements, assisting the producers in submitting documents

   related to the life insurance policies, and establishing sham trusts through which premiums were

   funneled to conceal the nature of the policies and Imperial Holdings’ interest in them. (DE 39 at

   44-45). Sun Life contends that it is sufficient for it to have alleged that Imperial Holdings knew

   of Sun Life’s contractual relationship with the producers and actively assisted the producers’

   violations of their contracts with Sun Life, and that Sun Life suffered damages as a result.

   However, because Sun Life’s fraud allegations were premised on a theory of agency—and

   because those allegations, as discussed, were not stated with the requisite particularity under

   Rule 9(b), at this juncture, Sun Life has failed to state a claim for tortious interference against

   Imperial Holdings.

          Accordingly, Count V is DISMISSED WITHOUT PREJUDICE.

          4.      Civil RICO (Count I)

          Sun Life fails to allege facts sufficient to state a claim for a RICO violation under

   § 1962(c), which makes it unlawful “to conduct or participate, directly or indirectly, in the

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   conduct of [an] enterprise [that affects interstate commerce] through a pattern of racketeering

   activity.” Rep. of Panama v. BCCI Holdings (Luxembourg) S.A., 119 F.3d 935, 948-949 (11th

   Cir. 1997). To state a claim under section 1962(c), a plaintiff must allege: “(1) the existence of

   an enterprise; (2) that the enterprise affected interstate commerce; (3) that the defendants were

   employed by or associated with the enterprise; (4) that the defendants participated . . . in the

   conduct of the affairs of the enterprise; and (5) that the defendants participated through a pattern

   of racketeering activity.” U.S. v. Starrett, 55 F.3d 1525, 1541 (11th Cir. 1995); U.S. v. Lynch,

   287 F. App’x. 66, 68 (11th Cir. 2008). Rule 9(b) applies to RICO claims. Lachmund v. ADM

   Investor Servs., Inc., 191 F.3d 777, 782 (7th Cir. 1999) (citations omitted).

          At this stage, Sun Life’s failure to allege facts with the particularity necessary to sustain a

   fraud claim under Rule 9(b) is fatal to its RICO claim. While Imperial Holdings asserts three

   arguments supporting its position that the RICO claim should be dismissed, the Court need not

   address each one; Sun life’s failure to allege that Imperial Holdings participated in a pattern of

   “racketeering activity,” as defined as the violation of any of the criminal statutes listed in section

   1961(1) is fatal to its claim. See 18 U.S.C. § 1961(1).

          To establish a pattern of racketeering activity, Sun Life must allege “at least two acts of

   racketeering activity” within a ten-year period, 18 U.S.C. § 1961(5), and must allege facts

   sufficient to support each of the statutory elements for those two predicate acts. Rep. of Panama,

   119 F.3d at 949. From the activities listed in section 1961(1), Sun Life alleges that Imperial

   Holdings committed wire and mail fraud in violation of 18 U.S.C. §§ 1341 and 1343.15 (DE 39

   at 21-38). Both mail and wire fraud require that a person “(1) intentionally participate[] in a

   scheme or artifice to defraud another of money or property, and (2) use[] or ‘cause[]’ the use of

   the mails or wires for the purpose of executing the scheme or artifice.” U.S. v. Ward, 486 F.3d

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   1212, 1221 (11th Cir. 2007). In turn, “[a] scheme to defraud requires proof of a material

   misrepresentation, or the omission or concealment of a material fact calculated to deceive

   another out of money or property.” U.S. v. Maxwell, 579 F.3d 1282, 1299-1300 (11th Cir. 2009).

   While the nondisclosure of material information could constitute a violation of the mail and wire

   fraud statutes, this is true only “where a defendant has a duty to disclose.” Kemp v. Am. Tel. &

   Tel. Co., 393 F.3d 1354, 1359–60 (11th Cir. 2004).

          Where a RICO claim relies on mail and wire fraud as the predicate acts, a plaintiff must

   meet Rule 9(b)’s heightened standard by alleging, as to each defendant, “(1) the precise

   statements, documents, or misrepresentations made; (2) the time, place, and person responsible

   for the statement; (3) the content and manner in which these statements misled the [p]laintiffs;

   and (4) what the defendants gained by the alleged fraud.” Ambrosia Coal & Constr. Co. v. Pages

   Morales, 482 F.3d 1309, 1316-17 (11th Cir. 2007). In addition, mail and wire fraud require

   allegations and proof of scienter. Liquidation Com'n of Banco Intercontinental, S.A. v. Renta,

   530 F.3d 1339, 1354 (11th Cir. 2008); see also Rep. of Panama, 119 F.3d at 949.

          Sun Life’s Amended Complaint fails to meet Rule 9(b)’s standard for pleading claims of

   mail and wire fraud because it does not contain any factual allegations that Imperial Holdings

   made any misrepresentations to Sun Life or that Imperial Holdings had a duty to disclose any

   information to Sun Life. The list of allegedly false statements made on the applications were

   made by the “applicants”––the producers, insureds, and trustees—but not Imperial Holdings.

   These statements are not imputable to Imperial Holdings, as discussed, because an agency

   relationship has not been adequately alleged.

          While Sun Life, indeed, enumerated various statements that it contends were fraudulent

   misrepresentations in the life insurance applications submitted to it via mail, fax, or email, since

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   those statements are alleged to have been made by the producers, senior insureds, or trustees, and

   since Sun Life did not allege facts sufficient to establish that an agency relationship existed

   between any of these parties and Imperial Holdings, those alleged fraudulent misrepresentations

   cannot be said to form a pattern of racketeering activity in which Imperial Holdings was

   involved.

          Accordingly, Count I is DISMISSED WITHOUT PREJUDICE.

                  5.      Conspiracy to Commit RICO (Count II)

          Sun Life also fails to state a RICO conspiracy claim. Section 1962(d) makes it unlawful

   for any person to conspire to violate Section 1962(a), (b), or (c). To state a claim of RICO

   conspiracy, the plaintiff must allege either (1) “an agreement of an overall objective” or (2) “that

   a defendant agreed personally to commit two predicate acts.” Managed Care Litig., 150 F. Supp.

   2d at 1350. In addition, the defendant must have “joined knowingly in the scheme and been

   involved himself, directly or indirectly, in the commission of at least two predicate offenses.”

   Cox v. Admin’r. U.S. Steel & Carnegie, 17 F.3d 1386, 1410, reh'g en banc denied, 30 F.3d 1347

   (11th Cir. 1994); cert. denied USX Corp. v. Cox, 513 U.S. 1110 (1995).

          To be guilty of a conspiracy to commit a RICO violation, the parties must first have

   violated a provision of the RICO statute. Jackson v. BellSouth Telecom., 372 F.3d 1250, 1269

   (11th Cir. 2004) (“To be guilty of conspiracy . . . parties must have agreed to commit an act that

   is itself illegal—parties cannot be found guilty of conspiring to commit an act that is not itself

   against the law.”). Thus, a RICO conspiracy claim necessarily fails if the underlying RICO claim

   fails. At this stage, because the Court finds that Sun Life has failed to state an underlying RICO

   violation, the RICO conspiracy claim fails.

          Accordingly, Count II is DISMISSED WITHOUT PREJUDICE.

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                 6.      Equitable Accounting (Count VI)

          Sun Life fails to state a claim for equitable accounting under Rule 12 (b)(6). “Under

   Florida law, a party that seeks an equitable accounting must show that: 1) the parties share a

   fiduciary relationship or that the questioned transactions are complex, and 2) a remedy at law is

   inadequate.” Immediate Capital Grp., Inc. v. Spongetech Delivery Sys., Inc., 10-60059-CIV,

   2010 WL 1644952 (S.D. Fla. Apr. 22, 2010) (citing Am. United Life Ins. Co. v. Martinez, 480

   F.3d 1043, 1071 (11th Cir.2007)).

          Sun Life does not contend that it is entitled to an equitable accounting because the parties

   share a fiduciary duty; nor does it contend that the questioned transactions are complex; rather,

   it contends that an equitable accounting is required because an unknown quantity of other

   policies were fraudulently procured from Sun Life pursuant to the Imperial scheme. Nor does

   Sun Life argue that no remedy at law exists; rather, it contends that an equitable accounting is

   required because it is entitled to damages in connection with every policy procured under

   Imperial’s scheme—but that is cannot identify other unknown policies—and thus, determine

   what damages are owed it—until Imperial accounts for those policies.

          Equitable accounting is not a substitute for discovery. See Managed Care Solutions, Inc.

   v. Essent Healthcare, Inc., 694 F.Supp.2d 1275, 2010 WL 309038, at *5 (S.D. Fla. Jan.25, 2010)

   (“Where a party has the opportunity to establish their damage claim through discovery, a request

   for accounting is not appropriate.”). Sun Life’s need for information concerning additional,

   unknown policies is not a sufficient reason to find that an equitable accounting, as opposed to

   discovery, is required. Zaki Kulaibee Establishment v. McFlicker, 788 F. Supp. 2d 1363, 1370-71

   (S.D. Fla. 2011) (determining that nothing in record indicated why party seeking equitable

   accounting could not obtain the documents it needed through discovery and noting that

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   arguments advanced in support of an equitable accounting were “more appropriately grounds for

   a motion to compel”). Moreover, an adequate remedy at law exists when a party seeking

   information it needs can obtain it through discovery. Am. United Life Ins. Co. v. Martinez, 480

   F.3d 1043, 1071 (11th Cir. 2007) (finding that adequate remedy at law existed for breach of

   contract claim despite party’s contention “that it has no adequate remedy at law without a proper

   accounting, as an accounting is necessary to determine the amount due” because party could use

   the discovery process to obtain the information it needed). Sun Life has not satisfied any of the

   requirements to state a claim for an equitable accounting.

          Accordingly, Count VI is DISMISSED WITHOUT PREJUDICE.

                    7.     Declaratory Judgment (Count VII)

          Sun Life fails to state a claim for declaratory judgment. The Court agrees with Imperial

   that Sun Life’s claim for declaratory judgment fails because, as discussed supra, the underlying

   allegations of fraud are not stated with the particularity required by Rule 9(b). See Mata v.

   Citimortgage, Inc., No. 10-9167-DSF, 2011 WL 4542723, at *1–2 (C.D. Cal. Sept. 26, 2011)

   (dismissing portion of claim for declaratory relief premised on fraudulent conduct for failure to

   satisfy the requirements of Rule 9(b)).

          Accordingly, Count VII is DISMISSED WITHOUT PREJUDICE.

          III.      CONCLUSION

          Accordingly, the Court ORDERS as follows:

          (1) Defendants’ Motion to Dismiss (DE 46) is GRANTED;

          (2) The Amended Complaint (DE 39) is DISMISSED WITHOUT PREJUDICE; if Sun

                 Life wishes to file a Second Amended Complaint, it may do so by July 28, 2014; and



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              (3) Defendants’ Motion to Dismiss (DE 99) is DENIED AS MOOT. 6

              DONE and ORDERED in Chambers at West Palm Beach in the Southern District of

   Florida, this 26th day of June, 2014.



                                                                               DAVE LEE BRANNON
                                                                               U.S. MAGISTRATE JUDGE




   6
       Imperial is free to re-raise its 12(b)(1) challenge in any subsequent Motion to Dismiss it may file.

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